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13                            UNITED STATES DISTRICT COURT

14                         NORTHERN DISTRICT OF CALIFORNIA

15                                       SAN JOSE DIVISION

16

17   APPLE INC., a California corporation,                   Case No.     11-cv-01846-LHK (PSG)

18                          Plaintiff,                       APPLE’S OPPOSITION TO
                                                             SAMSUNG’S MOTION TO
19          v.                                               EXCLUDE OPINIONS OF
                                                             CERTAIN OF APPLE’S EXPERTS
20   SAMSUNG ELECTRONICS CO., LTD., a
     Korean business entity; SAMSUNG                         Date:        June 21, 2012
21   ELECTRONICS AMERICA, INC., a New York                   Time:        1:30 p.m.
     corporation; SAMSUNG                                    Place:       Courtroom 8, 4th Floor
22   TELECOMMUNICATIONS AMERICA, LLC, a                      Judge:       Hon. Lucy H. Koh
     Delaware limited liability company,
23
                            Defendants.
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                                REDACTED PUBLIC VERSION
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     APPLE’S OPPOSITION TO SAMSUNG’S MOTION TO EXCLUDE OPINIONS OF CERTAIN OF APPLE’S EXPERTS
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 1   I.      INTRODUCTION
 2           Samsung’s motion to exclude expert testimony should be denied. The opinions of Terry

 3   L. Musika, John Hauser, Henry Urbach, Susan Kare, Russell Winer, Sanjay Sood, Michael

 4   Walker, and Richard L. Donaldson are based on reliable methods and will assist the trier of fact.

 5   Samsung’s motion is defective for numerous reasons—most notably Samsung’s

 6   mischaracterization of the methodology employed by these experts and Samsung’s presentation

 7   of factual disputes that are not properly the subject of a Daubert motion.

 8   II.     ARGUMENT
 9           A.      Terry L. Musika’s Opinions are Admissible
10                   1.      Musika’s Lost Profits Calculations Are Reliable
11           Musika’s lost profits analysis uses previously endorsed methods and reliable data to

12   evaluate to what degree Apple would have sold more products “but for” Samsung’s infringement.

13   See Crystal Semiconductor Corp. v. Tritech Microelecs. Int’l, Inc., 246 F.3d 1336, 1355 (Fed.

14   Cir. 2001) (discussing “but for” standard).1 Samsung improperly attempts to transform disputes

15   over the weight of the evidence into an argument that Musika’s opinion is unreliable. “When, as

16   here, the parties’ experts rely on conflicting sets of facts, it is not the role of the trial court to

17   evaluate the correctness of facts underlying one expert’s testimony.” Micro Chem., Inc. v.

18   Lextron, Inc., 317 F.3d 1387, 1392 (Fed. Cir. 2003).

19                           a.       Musika Properly Considered Price Elasticity and Operating
                                      Platform When Evaluating the Market
20

21           Samsung claims that Musika’s lost profits analysis ignores price elasticity and operating

22   platform preferences when reconstructing the market. (Mot. at 1-2.) Samsung’s arguments

23   misstate the case law, the underlying facts about price and competition, and Musika’s analysis.

24

25
             1
              Crystal recognizes that a “wide variety of reconstruction theories” may be used to
26   support a lost profits claim, 246 F.3d at 135, and the patentee need only prove losses to a
     “reasonable probability.” Kaufman Co. Inc. v. Lantech, Inc., 926 F.2d 1136, 1141 (Fed. Cir.
27   1991). “Any doubts regarding the calculatory precision of the damage amount must be resolved
     against the infringer.” Id.
28
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 1          Samsung argues that the lack of a separate price elasticity study justifies exclusion of
 2   Musika’s analysis based on BIC Leisure Prods., Inc. v. Windsurfing Int’l, Inc., 1 F.3d 1214, 1217-
 3   18 (Fed. Cir. 1993), and Monolithic Power Sys., Inc. v. O2 Micro Int’l Ltd., 476 F. Supp. 2d 1143,
 4   1155-56 (N.D. Cal. 2007). Samsung misstates the holdings of both cases. BIC Leisure evaluated
 5   price as one criterion to determine whether the patentee and infringer compete for the same
 6   customers. 1 F.3d at 1218-19. The court concluded that “[the infringer] and [the patentee] sold
 7   different types of sailboards at different prices to different customers” because the patentee
 8   operated in the high priced, “upper end of the sailboard” market whereas the infringer sold
 9   exclusively in “the sailboard’s market’s entry level” at much lower prices. Id. at 1219.2
10   Similarly, the expert in Monolithic Power proposed to triple the selling price of the alleged
11   infringer’s product but made no adjustment to quantity or demand in light of this change. 476 F.
12   Supp. 2d at 1155-56. Neither requires a price elasticity study. Both ask whether the patentee and
13   infringer will compete for sales from the same customers given differences in price.
14          Apple and Samsung compete for the same sales. The Court has concluded that the
15   “evidence shows that both Apple and Samsung compete in the same smartphone market,
16   particularly in the market for first-time smartphones buyers . . . .” (Dkt. No. 452 at 31-32.)
17   Samsung says it is Apple’s “avowed” competitor (Dkt. No. 80 at 1) and Samsung’s internal
18   documents indicate that it is                                                               (Musika
19   Decl. Ex. F at SAMNDCA11547408; see also id. Ex. G at SAMNDCA10375644
20                                                            ; id. Ex. H at SAMNDCA11513961
21                                                        Even Samsung’s damages expert agrees that
22

23   (Mazza Decl. Ex. B at 283:25-285:23, 484:7-485:2.)
24          Moreover, Samsung misstates the facts regarding consumer price differences. Both
25   Apple’s and Samsung’s damages experts testified that
26

27          2
             Samsung is wrong when it claims that BIC Leisure involved the exclusion of expert
     testimony. (Mot. at 2.) Rule 702 was not at issue there.
28
     APPLE’S OPPOSITION TO SAMSUNG’S MOTION TO EXCLUDE OPINIONS OF CERTAIN OF APPLE’S EXPERTS           2
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 1                                                         (Id. Ex. B at 482:25-483:3; id. Ex. A at
 2   43:22-44:18.) Samsung’s U.S. Chief Marketing Officer testified that
 3

 4

 5   (Musika Decl. Ex. D at 116:9-19, 115:18-117:1; id. Ex. J at SAMNDCA11547522.) The
 6   price differential to which Samsung refers reflects wholesale prices that consumers never see.
 7   (Mazza Decl. Ex. A at 44:12-13.) In the relevant area, Samsung and Apple have equivalent
 8   pricing.
 9          Finally, Samsung misstates Musika’s analysis, which did account for both price elasticity
10   and consumer operating platform preferences. (Musika Decl. ¶ 11.) As explained in detail in
11   Musika’s report, deposition, and declaration, Musika’s analysis used real world information about
12   the smartphone and tablet market share on a carrier-specific basis to reallocate sales “but for”
13   Samsung’s infringement. (Musika Decl. ¶¶ 17-30; Mazza Decl. Ex. A at 17:1-18:19.) By doing
14   so, he uses the best data available regarding demand in light of both price and operating system,
15   which reflects real choices by consumers, to reduce lost profits.3
16

17                                                  (Musika Decl. ¶¶ 29-30.) At best, Samsung’s
18   motion presents disputed factual issues that are the subject of cross examination, not a Daubert
19   motion. Micro Chem., Inc., 317 F.3d at 1392 (disputed facts cannot be resolved on Daubert
20   motion).
21                          b.     Musika’s Opinions Are Tied to the Intellectual Property Rights
                                   at Issue
22

23          Samsung’s next argument, that Musika fails to provide evidence of demand for the
24   individual technology asserted in this lawsuit, suffers from the same defect. It wrongly asks the
25
            3
              Musika did not decide to forgo a price elasticity study due to lack of time. (See Mot. at
26   5.) A separate price elasticity study was unnecessary, given the similar retail prices for the
     products, the detailed market information incorporated into his analysis,
27                                                                                      (See Musika
     Decl. ¶¶ 23-27; Mazza Decl. Ex. A at 17:11-21, 18:8-19, 39:9.)
28
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 1   Court to resolve disputed factual claims and exclude otherwise proper expert opinions.
 2          First, Samsung overstates its legal case. “[T]he Panduit test is an acceptable, though not
 3   an exclusive, test for determining ‘but for’ causation.” BIC Leisure Prods., 1 F.3d at 1218. For
 4   this purpose, the Federal Circuit affirmed that the first factor of Panduit focuses on demand for
 5   the patented product, not the specific technology claimed. Depuy Spine, Inc. v. Medtronic
 6   Sofamor Danek, Inc., 567 F.3d 1314, 1330 (Fed. Cir. 2009) (“All that the first [Panduit] factor
 7   states, and thus requires, is demand for the patented product.”).
 8          Nonetheless, Musika’s report identifies specific evidence that ties smartphone and tablet
 9   demand to the intellectual property asserted by Apple as part of the analysis of whether
10   infringement is the “but for” cause for the lost sales. As examples, Musika’s report refers to the
11   following evidence of demand for the utility patents and design rights asserted by Apple:
12          •   Dr. Hauser’s conjoint study demonstrating that consumers are willing to pay a price
                premium for smartphone and tablet products containing the patented features of the
13              ‘381, ‘607, ‘915, and ‘163 patents. (Musika Decl. ¶ 33.)
14          •
15                                          (Id. ¶ 35, Exs. N, O.)
16          •
                                                                                           (Id. Ex. P.)
17
            •
18                                                 (Id. Exs. N, O.)
19          •
20                             (Id. ¶ 36, Exs. V, W, X.)
21          •
                                                                          (Id. ¶ 35, Ex. O.)
22
            •
23                                                                                              (Id. ¶ 35,
                Ex. R.)
24
            •   Apple print and television advertisements prominently displaying the beautiful
25              industrial designs of the iPhone and iPad and their elegant graphical user interfaces.
                (Id. Exs. S, T, U.)
26

27   Musika provided two multi-page tables referring to evidence that addresses consumer demand for
28   the asserted technology. (Id. Exs. L, M.) In an effort to be highly conservative, Musika also
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 1   limits his lost profits calculations to the specific periods of time that it would take Samsung to
 2   redesign their products, which itself carefully tailors his lost profits analysis to the specific
 3   technology at issue.4 (Musika Decl. ¶¶ 14, 32.) Samsung disagrees with Apple’s evidence, but
 4   that disagreement justifies a trial, not the exclusion of evidence. Rule 702 does not “authorize a
 5   trial court to exclude an expert’s testimony on the ground that the court believes one version of
 6   the facts and not the other.” Micro Chem., Inc., 317 F.3d at 1392.
 7                   2.      Musika’s Reasonable Royalty Analysis Is Reliable
 8           Musika’s reasonable royalty analysis uses three well-recognized methods to identify
 9   “reference” points for a reasonable royalty: the income, cost, and market approaches. (Musika
10   Decl. ¶ 39); see Inline Connection Corp. v. AOL Time Warner Inc., 470 F. Supp. 2d 424, 432 (D.
11   Del. 2007) (acknowledging these approaches consist of “generally accepted methods and
12   principles”). Musika then applied the well-known factors identified in Georgia-Pacific Corp. v.
13   United States Plywood Corp., 318 F. Supp. 1116 (S.D.N.Y. 1970), to identify a per unit royalty
14   within these reference points. This approach is widely-accepted.
15                           a.      Musika Accounts for Other Technology and Contributions to
                                     Profit in His “Income Method” Analysis
16

17           Samsung’s attack on the “income approach” relies entirely on the inaccurate factual claim
18   that Musika’s calculation “fails to apportion any of the premium for Apple’s iPhone and iPad
19   products to any other utility patents or to any other non-patented proprietary technology unique to
20   the iPhone and iPad” and “attributes the entire premium value of Apple’s iPhone and iPad
21   products to the IP asserted here with no apportionment to other assets.” (Mot. at 4.) These
22   statements are “incorrect.” (See Mazza Decl. Ex. A at 96:16-22, 101:1-5 & 96:1-101:15.)
23           Musika’s income method apportions more than three-quarters of Apple’s profit margins
24   for the relevant products to technology and assets other than the utility IP and design IP asserted
25
             4
               Contrary to Samsung’s claims, the assumption that Samsung would return to the market
26   with essentially the same level of sales does not “admit” that there is no demand for Apple’s
     intellectual property. Musika made this conservative assumption, despite the evidence to the
27   contrary, to ensure his calculations include only lost profits that could be proved to a reasonable
     probability to be associated with the technology. (Mazza Decl. Ex. A at 22:2-23:1, ¶ 125.)
28
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 1   is this lawsuit. For Apple,
 2

 3

 4

 5                                                                              (Id.)
 6

 7                                                                                                 (Id.
 8   ¶ 46.) And Musika’s final per unit royalty rates
 9                                  (Id. ¶ 43.) Without Musika’s apportionment, the relevant royalties
10   would far exceed the existing calculations. (Id. ¶ 45, Ex. AA.)
11          Nor do Samsung’s authorities justify exclusion of Musika’s methods. Uniloc USA, Inc. v.
12   Microsoft Corp., 632 F.3d 1292, 1318 (Fed. Cir. 2011), and Mirror Worlds, LLC v. Apple, Inc.,
13   784 F. Supp. 2d 703, 726-27 (E.D. Tex. 2011), address the calculation of royalties as a percent of
14   the total revenues of the accused products under the “entire market value rule.” Musika uses per
15   unit royalties not royalties calculated as a percent of revenues. (Musika Decl. ¶ 43, Ex. A ¶ 159.)
16   Moreover, consistent with Uniloc, he “apportioned the defendant’s profits and the patentee’s
17   damages between the patented feature[s] and unpatented features” as described above. Uniloc,
18   632 F.3d at 1318.
19          Samsung’s last argument regarding Musika’s treatment of design rights is equally
20   misguided and unrelated to the issue raised in Oracle Am., Inc. v. Google Inc., 798 F. Supp. 2d
21   1111, 1115 (N.D. Cal. 2011). Musika’s analysis considers both the result of a license to the
22   collection of design rights asserted in the case and a floor below which Apple would not license
23   even one design patent or trade dress. (Musika Decl. ¶¶ 61-62; Mazza Decl. Ex. A at 85-86.)
24   Musika’s rates rely on the rational economic principle that Apple, as the owner of the most
25   valuable brand in the world, “would not agree to allow [its] brand to be partially eroded.”
26   (Musika Decl. ¶ 48, Ex. A ¶ 188.) Samsung offers no evidence to the contrary and no argument
27   why this is not economically justified. This analysis differs from Oracle, where the court rejected
28   a royalty rate opinion that it found explicitly combined asserted and unasserted software utility
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 1   patents. 798 F. Supp. 2d at 1115. There, the court found an expert assumed that the proper
 2   royalty should reflect a license to a “Java portfolio license,” i.e. all of Java. Id. Musika’s analysis
 3   is limited to the design IP asserted here and is not based on any “portfolio” license that combines
 4   asserted and unasserted technology.
 5                          b.      Mr. Musika’s “Cost Approach” Is An Accepted Method
 6          Samsung first criticizes Musika’s “cost approach” on the ground that Musika cannot
 7   legally include a calculation of the profits Samsung would lose during the period required to
 8   design around Apple’s patents. (Mot. at 6.) But Samsung’s own expert agrees that infringer’s
 9   profits is a relevant consideration when calculating a reasonable royalty. (Mazza Decl. Ex. B at
10   289:24-290:24). Moreover, at least three Georgia-Pacific factors identify an infringer’s profits as
11   a relevant consideration to a reasonable royalty.5 Georgia-Pac., 318 F. Supp. at 1120. And
12   courts have repeatedly considered design-around costs as a factor when evaluating reasonable
13   royalties. See, e.g., Mars, Inc. v. Coin Acceptors, Inc., 527 F.3d 1359, 1372-73 (Fed. Cir. 2008)
14   (incorporating cost of noninfringing alternative into reasonable royalty analysis). Samsung’s
15   cases are not to the contrary. Radio Steel & Mfg. Co. v. MTD Prods., Inc., 788 F.2d 1554, 1557
16   (Fed. Cir. 1986), authorized a reasonable royalty that exceeded the infringer’s profits.
17   ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860, 869 (Fed. Cir. 2010), considered when licenses
18   are comparable, not a calculation of costs. Finally, Oracle and Uniloc deal with the entire market
19   value rule, which is addressed above. Uniloc, 632 F.3d at 1317; Oracle, 798 F. Supp. 2d at 1115-
20   16. None prevent an expert from considering to what degree an infringer would lose sales and
21   profits if it had to design around the asserted patents.
22

23

24          5
              Factor 8—“the established profitability of the product made under the patent; its
     commercial success; and its current popularity”; Factor 11—“the extent to which the infringer has
25   made use of the invention; and any evidence probative of the value of that use”; Factor 12—“the
     portion of the profit or of the selling price that may be customary in the particular business or in
26   comparable businesses to allow for the use of the invention or analogous inventions”; and Factor
     13—“the portion of the realizable profit that should be credited to the invention as distinguished
27   from non-patented elements, the manufacturing process, business risks, or significant features or
     improvements added by the infringer.” Georgia-Pac., 318 F. Supp. at 1120.
28
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 1          Samsung’s second argument improperly asks the Court to make disputed factual findings
 2   in its favor. Musika, in reliance on experts and the evidence cited in his report, evaluates
 3   Samsung’s costs based on evidence that Samsung would need
 4                                         (Musika Decl. Ex. A ¶¶ 162-65; id. Ex. 4 at Ex. 39.4-S; id.
 5   ¶ 53.) Samsung claims, without any evidentiary support, that Samsung would suffer no losses
 6   and could have “quickly designed out the accused features.” (Mot. at 5.) A Daubert motion is
 7   not the forum to resolve factual disputes regarding design-around times, especially without a full
 8   evidentiary submission.
 9                          c.     Musika’s Assumptions are Appropriate
10          Samsung argues that Musika cannot consider Apple’s policy of not licensing the IP
11   asserted in this suit to anyone. (Mot. at 6-7.) Rubbish. The Federal Circuit has repeatedly
12   affirmed the relevance of a licensor’s unwillingness to license for even a reasonable royalty. See,
13   e.g., Monsanto Co. v. Ralph, 382 F.3d 1374, 1384 (Fed. Cir. 2004) (noting the upward effect of
14   licensor’s unwillingness on hypothetical negotiation process), Rite-Hite Corp. v. Kelley Co., 56
15   F.3d 1538, 1554-55 (Fed. Cir. 1995) (affirming consideration of patentee’s policy of not licensing
16   its technology in calculating a reasonable royalty).
17          Nor has Musika done anything wrong in his limited analysis of the
18                                                                                   (Mazza Decl. Ex. A
19   at 108:4-8, 104:19-22.)
20                                                                (Musika Decl. ¶ 63.) The licenses are
21   not comparable to the complete set of IP being asserted, but provide some insight into the value
22   Apple places on its trademarks and trade dress. Musika’s limited use of this one example of an
23   Apple trademark license does not run afoul of Oracle, where the court found that an expert report
24   failed to describe any details about the license agreements he used and then got one factually
25   wrong when he did. Oracle Am., Inc. v. Google Inc., No. C10-03561, 2012 WL 44485, at *8
26   (N.D. Cal. Jan. 9, 2012).
27

28
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 1                  3.      Musika’s Opinions Regarding Samsung’s Costs Are Proper Expert
                            Testimony
 2

 3          Samsung seeks an extraordinarily broad remedy—an order preventing “Musika from

 4   disputing any of Samsung’s costs”—based on the slimmest premise: that a CPA’s testimony

 5   about financial costs is “improper attorney argument.” (Mot. at 7-8.) To the contrary, Musika

 6   applies standards used in the accounting profession to address a relevant, disputed factual

 7   question: What expenses has Samsung adequately proven that were “of actual assistance in the

 8   production, distribution or sale of the infringing product?” Kamar Int’l, Inc. v. Russ Berrie &

 9   Co., Inc., 752 F.2d 1326, 1332 (9th Cir. 1984).6

10          Musika’s opinions derive directly from his external expertise in the “standards applied by

11   financial accountants” (Musika Decl. ¶¶ 63-64, Ex. B ¶ 28), and from facts regarding errors and

12   anomalies in Samsung’s productions of financial data and the inability to verify this data using

13   internal and external sources.7 (Id. ¶ 65.) Musika also provides analysis regarding how

14   accountants treat “fixed costs” and “variable costs” when calculating profits. (Id. ¶ 64.) These

15   opinions reflect typical expert testimony from an accountant.

16          Further, Musika’s opinions are not a violation of any order. Musika’s Supplemental

17   Report draws directly from financial data produced for the first time on April 30 in response to

18   this Court’s April 23 sanctions order. (Dkt. No. 880; Musika Decl. ¶ 65.) That same Order

19   stated, “Apple may supplement its expert report(s) on damages, limited to explaining any changes

20   to the initial report(s) that are the result of the additional production.” (Dkt. No. 880 at 16.) This

21   is exactly what Apple did.

22
            6
23            Under 15 U.S.C. § 1117, Apple is entitled to recover Samsung’s unjust profits for
     violation of Apple’s trade dress. Apple bears the burden of proving the relevant revenues, and
24   Samsung bears the burden of establishing all costs and deductions claimed. Maier Brewing Co. v.
     Fleischmann Distilling Corp., 390 F.2d 117, 124 (9th Cir. 1968); Landes Mfg. Co. v. Chromodern
25   Chair Co., No. CV 76-3540, 1978 U.S. Dist. LEXIS 15095, at *11 (C.D. Cal. Oct. 5, 1978).
     Given this legal framework, the suggestion that Samsung is entitled to prevent the jury from
26   learning Samsung’s revenues and preclude Apple from contesting Samsung’s costs is meritless.
            7
              The opinions at issue focus on Samsung’s, not Apple’s, financial production and the
27           discussed in footnote 5 of Samsung’ opening brief do not affect any damages calculation.
     The issue is suited for cross examination, but it provides no reason to exclude under Rule 702.
28
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 1                  4.      A Daubert Motion Is Not a Proper Method to Seek Summary
                            Judgment Regarding Disputed Factual Issues Relating to Notice
 2

 3          Samsung asks the Court to force Musika (and therefore the jury) to adopt Samsung’s view

 4   on the disputed issue of when Samsung had notice of its infringement.8 (Mot. at 9:13-16.)

 5   Samsung did not raise this issue under Rule 56, making this issue unresolvable on a Daubert

 6   motion. Micro Chem., 317 F.3d at 1392; Sigma Tool & Mach. v. Nagayama Elec. Indus. Co.,

 7   No. 00-2936 (RWR), 2002 U.S. Dist. LEXIS 28185, at *5-6 (D.D.C. Dec. 18, 2002) (denying

 8   motion to exclude pre-notice damages because factual disputes over notice “cannot be resolved

 9   ‘without the appropriate procedures provided by Fed. R. Civ. P. 56’”).

10          Musika has received the evidence supporting Apple’s position. (Musika Decl. ¶ 66.)

11   Nonetheless, he is not rendering an opinion on when notice occurred, can adjust his calculation to

12   respond to evidence on this issue, and has provided Samsung the means to make the same

13   adjustments. (See id. ¶¶ 66-67.) Thus, his opinions can and do account for damages based on

14   either party’s view of this disputed issue. Samsung cannot use a Daubert motion to deprive

15   Apple of a jury trial over a factual dispute.

16                  5.      Musika’s Opinions Regarding Irreparable Harm Are Proper
17          Samsung grossly mischaracterizes Musika’s opinions on irreparable harm as unsupported

18   speculation. As discussed in Section I.A.2 above, Musika relies on substantial evidence showing

19   the nexus between the harm to Apple and Samsung’s infringement. His opinions were updated

20   and changed based on discovery. The Court will have ample time to hear this evidence, evaluate

21   Samsung’s objections, and determine if irreparable harm has occurred in connection with its

22   evaluation of a permanent injunction after trial. There is no Daubert issue.

23

24

25

26

27          8
               For example, compare Mazza Decl. Ex. C with Dkt. No. 927-11 (sealed). Apple
     anticipates that both sides will produce evidence regarding the disputed issue of notice at trial.
28
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 1          B.      John Hauser’s Opinions Are Admissible
 2                  1.      Dr. Hauser’s Opinions Are Reliable
 3          Samsung purposely confuses Dr. Hauser’s actual surveys—double-blind, internet-

 4   administered surveys—with the background work to design and pre-test them. Samsung then

 5   uses this mischaracterization to try to exclude Dr. Hauser’s opinions “because the basis of those

 6   opinions—purported Samsung customer interviews—is undocumented and unverifiable.” (Mot.

 7   at 11.) Samsung knows this is wrong; it has all the data it needs to replicate Dr. Hauser’s results.

 8   It also asserts that Dr. Hauser surveyed the wrong population. But Dr. Hauser properly calculated

 9   what Samsung customers are willing to pay for the patented features by surveying the relevant

10   population—Samsung customers. Samsung also uses selective and misleading citations to argue,

11   incorrectly, that Dr. Hauser’s surveys do not reflect the patented technology. Dr. Hauser’s

12   surveys accurately track the patents and the technical expert reports that address them.

13                          a.     Apple Produced All Documents Relating to Dr. Hauser’s
                                   Calculations
14

15          What Samsung calls the “purported customer interviews” are not what Dr. Hauser used to

16   prepare the willingness-to-pay calculations in his report. (Hauser Decl. ¶ 4.) Everything used to

17   prepare those calculations was recorded and produced. (Id. ¶ 5.) Apple produced the surveys, the

18   graphics and animated videos shown with the survey, the responses of all respondents, and a CD-

19   ROM with files showing the support for every calculation Dr. Hauser made. (Id.) About this,

20   there is no dispute.

21          Samsung instead seeks to exclude Dr. Hauser’s opinion because there are no notes from

22   20 interviews the market research firm, Applied Marketing Science (“AMS”), conducted for

23   purposes of “explor[ing] the words and phrases consumers use [and] explor[ing] how consumers

24   talk about these smartphones and tablets.” (Mazza Decl. Ex. K at 12:5-7.)9 Dr. Hauser’s

25
            9
              Dr. Hauser is very familiar with the work of AMS, where he is a co-founder and senior
26   consultant. (Hauser Decl. Ex. A ¶ 9.) AMS “has been doing this for 24 years” and Dr. Hauser
     has used it “many times.” (Mazza Decl. Ex. K at 16:9, 20:22.) Samsung’s scurrilous assertion
27   that Dr. Hauser knew “nothing” about those 20 interviewees, “including whether they actually
     owned Samsung devices,” is plainly false. (Mot. at 10 n.6.) Dr. Hauser’s report states the IDI
28                                                                          (Footnote continues on next page.)
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 1   approach has a sound methodological basis; he wanted interviewers to “really concentrate on the
 2   interviewee and probe back and forth” and told them not to take notes to help achieve this goal.
 3   (Id. at 72:18-19.) The interviews are “background that’s part of the design of the study” but they
 4   are “not the study itself.” (Id. at 12:8-9.) They are not “the basis” of Dr. Hauser’s opinions.
 5   Dr. Hauser’s “study is 100% reproducible,” (id. at 80:13) and can be replicated “completely
 6   independently of the [interviews] and pre-tests.” (Hauser Decl. ¶¶ 4-6.)
 7           In light of the foregoing, Samsung’s citation to Toys “R” Us, Inc. v. Canarsie Kiddie
 8   Shop, Inc., 559 F. Supp. 1189 (E.D.N.Y. 1983), is grossly misleading. In Toys “R” Us, the
 9   expert’s opinions were excluded because “he had no personal knowledge of whether [the
10   interviewers], in fact, followed the instructions” he gave for the actual surveys that were the
11   subject of his report. Id. at 1203. Neither Toys “R” Us nor any other case Samsung cites
12   excludes expert opinions for not taking notes of background work done in preparation for the
13   surveys themselves.
14                            b.       Dr. Hauser Properly Pre-Tested His Surveys
15           Similarly, Samsung criticizes Dr. Hauser for having only a one-page summary of pre-
16   testing of his surveys. (Mot. at 11-12.) This criticism is equally misguided and Samsung has no
17   authority to support it. The pre-test of the surveys are not the surveys; they are not the “basis” of
18   Dr. Hauser’s opinions. (Hauser Decl. ¶ 4.) The pre-tests were done “to assess the potential for,
19   and remove or minimize, demand artifacts and to ensure that all survey questions were
20   understood as intended.” (Hauser Decl. Ex. A ¶ 42; see also Mazza Decl. Ex. K 163:23-165:7;
21   190:12-19.) Through pre-testing, Hauser identified and recorded a few wording changes to make
22   the questions and instructions more understandable. (Mazza Decl. Ex. K at 189:23-190:7; Hauser
23   Decl. Ex. A ¶ 46, Ex. H.)
24

25
     (Footnote continued from previous page.)
26   were conducted “with current Samsung smartphone and tablet owners.” (Hauser Decl. Ex. A
     ¶ 35.) Further, he was briefed orally on “how people describe smartphones” and “the type of
27   features that people mentioned as being important.” (Hauser Decl. Ex. A ¶ 38; Mazza Decl. Ex. K
     at 56:5-6, 73:21-23.)
28
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 1                            c.      Dr. Hauser’s Actual Methods and Surveys Were Appropriate
 2             Samsung says that the lack of notes reflects Dr. Hauser’s effort to hide a failure to “test all

 3   the features identified in the interviews.” (Mot. at 11.) But Samsung offers no evidence of this,

 4   or how Dr. Hauser’s selection of features for his surveys compromises his work. Samsung’s

 5   argument is particularly disingenuous since Samsung’s expert, Dr. Sukumar, tested only the

 6   patented features at issue in this case in his conjoint analysis and thus made no effort to address

 7   demand arising from any other feature.10 (Mazza Decl. Ex. L at 118:19-119:2.) In contrast,

 8   Dr. Hauser’s approach is consistent with his academic work as well as commercial applications of

 9   conjoint analysis. (Hauser Decl. ¶¶ 10-11.)

10             The objective of Dr. Hauser’s surveys, the specifics of his methodology, and the way his

11   results are used differ fundamentally from what was presented in Oracle. First, Dr. Hauser

12   conducted a “willingness to pay” analysis and did not offer a “predictor of market share.” See

13   Oracle Am., Inc. v. Google Inc., No. C10-03561, 2012 WL 850705, at *10 (N.D. Cal. Mar. 13,

14   2012). These two approaches, while having similar roots, have different controls and reach

15   different outcomes. (Hauser Decl. ¶ 7.) In Oracle, Oracle’s damages expert cited the results of

16   the conjoint analysis to estimate “Android’s increase in market share due to infringement.”

17   Oracle, 2012 WL 850705, at *9. In contrast, Dr. Hauser’s results are only used by Apple’s

18   damages expert, Terry Musika, to confirm “there is demand for the specific patented features in

19   suit and that their presence (or absence) will affect consumer decision making,” not to calculate a

20   specific market share or a precise value for the patented feature in suit. (Musika Decl. ¶ 33, Ex. A

21   ¶ 122.)

22
               10
23

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 1                   2.     Dr. Hauser Surveyed the Proper Population
 2          Apple retained Dr. Hauser “to determine the price premium, if any, that Samsung

 3   consumers are willing to pay for the features associated with the patents at issue.” (Hauser Decl.

 4   Ex. A ¶¶ 7, 12.) He did just that by surveying a “target population” of owners of Samsung

 5   smartphones and tablets. (Hauser Decl. Ex. A ¶ 56; Mazza Decl. Ex. K at 31:17-32:2.) For this

 6   purpose, recent Samsung purchasers are the most relevant population. The more amorphous

 7   (perhaps indefinable) category of “all potential Samsung purchasers” would not be as properly

 8   targeted. In any event, Samsung’s argument “affects only the weight of the resulting survey data,

 9   not its admissibility.” See, e.g., Icon Enters. Int’l, Inc. v. Am. Prods. Co., No. CV 04-1240 SVW

10   (PLAx), 2004 WL 5644805, at *26 (C.D. Cal. Oct. 7, 2004) (“courts within the Ninth Circuit are

11   reluctant to exclude survey evidence on the basis of an overinclusive or underinclusive target

12   population”).

13          Samsung wrongly relies on two trademark cases addressing surveys on likelihood-of-

14   confusion, Universal City Studios, Inc. v. Nintendo Co., 746 F.2d 112, 118 (2d Cir. 1984) and

15   Dreyfus Fund, Inc. v. Royal Bank of Canada, 525 F. Supp. 1108, 1116 (S.D.N.Y. 1981). (Mot. at

16   12.) Potential purchasers are the proper target population to evaluate likelihood of confusion,

17   where one test is “whether the goods would be confused by a prospective purchaser at the time he

18   considered making the purchase.” Hawley Prods. Co. v. U.S. Trunk Co., 259 F.2d 69, 77 (1st Cir.

19   1958). The goal, and the relevant population, here are different.

20                   3.     Dr. Hauser’s Surveys Accurately Described the Patented Features
21          Finally, Samsung claims Dr. Hauser’s survey tested features that “do not even comport

22   with Apple’s experts’ descriptions of the patented features.” (Mot. at 12-13.) This is

23   demonstrably false. Samsung uses incomplete quotes from Apple’s experts’ reports to show

24   purported—and barely intelligible—“disparities” between them and Dr. Hauser. (Dkt. No. 927-

25   20 (sealed).) Exhibit R to the Mazza Declaration shows how Dr. Hauser’s descriptions in the

26   surveys are consistent with Apple’s experts’ reports and the patents. (Mazza Decl. Ex. R

27   (summary table citing relevant expert reports and patents); see also id. Exs. M-Q, S-V.)

28
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 1          For example, Samsung argues there is “no connection between the touchscreen ‘reliably’
 2   doing what ‘you intend’ and the ‘607 patent. (Dkt. No. 927-20.) Samsung tries to confuse the
 3   issue by quoting from only the technical description in the report of Apple’s technical expert,
 4   Prof. Maharbiz. Elsewhere, Prof. Maharbiz explains what this means, in language entirely
 5   consistent with Dr. Hauser’s surveys: the ‘607 patent “can detect and locate multiple touches
 6   even when the touches are along a single-sense line, and can smoothly track the motion of
 7   multiple fingers.” (Mazza Decl. Ex. P ¶ 32.) He opines that the ‘607 technology is more reliable
 8   than other touch screen technology, stating “it is not at all clear that resistive type touch screens
 9   or prior capacitive touch screens could have accurately reflected contacts with the touch screen to
10   enable natural, reliable multi-touch gestures.” (Id. ¶ 272.) Similarly, the ‘607 patent itself says
11   the technology results in a “more accurate output.” (Mazza Decl. Ex. T at 17: 46-47.) There is
12   no disparity.
13          C.       Henry Urbach’s Opinions Are Admissible
14                   1.     Urbach Is Qualified to Opine on Apple’s Design Achievements
15          Urbach is qualified to opine on the public’s widespread appreciation of Apple’s designs.
16   His educational and professional experience spans more than twenty-five years and has focused
17   on the cultural significance of designed objects. (Dkt. No. 927-22 ¶¶ 3-10 (sealed); Mazza Decl.
18   Ex. D at 7:21-17:14, 19:20-40:12, 44:7-45:22.) Urbach owned and directed his own gallery, has
19   published in the field, and served as the curator of architecture and design for the San Francisco
20   Museum of Modern Art (“SFMOMA”). (Dkt. No. 927-22 ¶¶ 3-10 (sealed).) Given this
21   background and experience, Urbach has ample specialized knowledge on which to base his
22   opinions regarding Apple’s design accomplishments. Samsung’s argument—that he lacks
23   product design experience—is irrelevant.
24                   2.     Urbach’s Expert Opinions Are Relevant and Helpful to the Jury
25          Samsung ignores the fact that praise or industry acclaim are “secondary considerations”
26   relevant to the obviousness analysis. See Graham v. John Deere Co., 383 U.S. 1, 17-18 (1966);
27   Crocs, Inc. v. ITC, 598 F.3d 1294, 1310-11 (Fed. Cir. 2010) (citation omitted) (“Secondary
28   considerations ‘can be the most probative evidence of non-obviousness in the record . . . .’”).
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 1   Accordingly, Urbach’s opinions are highly relevant. As explained in his report, Apple’s designs
 2   have become widely adored as aesthetic objects, and that fact supports non-obviousness of the
 3   asserted design patents. (Dkt. No. 927-22 ¶¶ 22-34, 39-51 (sealed).)
 4          Samsung’s only support for its irrelevance argument is that Urbach does not opine about
 5   any legal doctrine such as the “ordinary observer” test. (Mot. at 15.) That criticism is invalid.
 6   Rules 402 and 702 of the Federal Rules of Evidence do not require experts to opine as to legal
 7   questions at issue in the case for their opinions to be relevant. In fact, Samsung has the law
 8   backwards: the purpose of expert testimony is to “help the trier of fact to understand evidence or
 9   to determine a fact in issue,” Fed. R. Evid. 702(a), not to set forth legal conclusions or usurp the
10   court’s role of instructing the jury as to applicable law. See, e.g., Mukhtar v. Cal. State Univ., No.
11   01-15565, 2002 U.S. App. LEXIS 27934, at *30 n.10 (9th Cir. Aug. 7, 2002) (“expert witness
12   cannot give an opinion as to her legal conclusion, i.e., an opinion on an ultimate issue of law”);
13   Traumann v. Southland Corp., 858 F. Supp. 979, 985 (N.D. Cal. 1994) (“Expert testimony must
14   embrace factual issues and may not include legal opinions or conclusions.”). Urbach’s focus on
15   the widespread public and professional acknowledgment of Apple’s design achievements, rather
16   than on questions to be decided by the jury under the Court’s instruction, is proper and supports
17   admissibility of his opinions.
18                  3.      Urbach’s Expert Opinions Satisfy the Reliability Requirement
19          Samsung’s argument that Urbach’s opinion is unreliable because it is “unscientific”
20   ignores the fact that Urbach does not offer a scientific or quantitative opinion. While the Court
21   still has the “gate keeping” function with respect to Urbach’s opinion, the Court has “broad
22   latitude in deciding how to determine the testimony’s reliability.” Mukhtar, 2002 U.S. App.
23   LEXIS 27934, at *25. Where, as here, the testimony is non-scientific, reliability “depends
24   heavily on the knowledge and experience of the expert, rather than the methodology or theory
25   behind it.” United States v. Hankey, 203 F.3d 1160, 1169 (9th Cir. 2000) (emphasis added); see
26   Kumho Tire Co. v. Carmichael, 526 U.S. 137, 151 (1999) (“[T]he factors identified in Daubert
27   may or may not be pertinent in assessing reliability, depending on the nature of the issue, the
28   expert’s particular expertise, and the subject of his testimony.”) (internal quotation marks
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 1   omitted). Urbach has the background, knowledge, and experience to render reliable his opinions
 2   about Apple’s design achievements and the public’s appreciation of them.
 3          Rather than addressing Urbach’s actual analysis, Samsung distorts Urbach’s opinions in
 4   an effort to manufacture arguments.11 Samsung complains that Urbach “opines that Apple’s
 5   products ‘allow, and even demand, aesthetic consideration,’ but admits there is no standard . . . to
 6   make such a determination.” (Mot. at 15.) But the quoted language concerns Urbach’s opinions,
 7   informed by his experience and studies of the perception of designed objects, about “[w]ell-
 8   designed objects,” not about Apple products in particular. (Dkt. No. 927-22 ¶ 18 (sealed).)
 9   Urbach’s opinion about Apple products is that they are, in fact, appreciated as aesthetic objects
10   because of their meticulous designs, a conclusion that he provides ample support for in his report
11   and to which Samsung raises no challenge.12 Samsung again attacks a straw man when it cites
12   deposition testimony by Urbach about the difficulty of defining “public appreciation.” (Mot. at
13   15.) Urbach admitted that it was not easily defined, but he made clear that his opinion was that
14   “there is tremendous consensus among design experts, curators, [and] leaders in the design field
15   about the design excellence of Apple.” (Dkt. No. 927-23 at 102:8-11 (sealed).) To the extent
16   Samsung wishes to call Urbach’s opinions into question, it can do so on cross examination.
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            11
20              Samsung also criticizes opinions that Urbach does not even offer. Samsung incorrectly
     claims that Urbach “offers an opinion on museum worthiness of Apple products in comparison to
21   others.” (Mot. at 16.) Nowhere in his report does he make any representation about the “museum
     worthiness” of other products. (See Dkt. No. 927-22 ¶¶ 44-51 (sealed).) Similarly, Samsung’s
22   argument that Urbach “fails to consider whether any factors other than design . . . account for or
     contributed to that market success” (Mot. at 16) is a red herring. Urbach does not opine on
23   whether design is the only reason that Apple enjoys commercial success. While he points to
     factors related to commercial success (e.g., sales, long lines at stores) to support his opinion that
24   the public holds Apple designs in high esteem, it would not contradict that opinion if other factors
     also affected that success.
25          12
               Urbach, for example, cites commentary from media and academia that illustrate
     reactions to Apple designs and the public’s intense interest in those designs. (Dkt. No. 927-22
26   ¶¶ 21, 24-31, 39 (sealed).) He also relies on his specialized knowledge to draw comparisons
     between Apple and other companies who developed famous designs in the past. (Id. ¶¶ 40-43.)
27   Finally, Urbach points to the fact that multiple museums have included Apple products, such as
     the iPad and iPhone, in exhibitions and permanent collections. (Id. ¶¶ 48-51.)
28
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 1          D.      Susan Kare’s Opinions Are Admissible
 2          Samsung raises objections to two aspects of Dr. Kare’s expert report. First, Samsung

 3   argues that Dr. Kare’s opinions about “substantial similarity” and “likelihood of confusion” did

 4   not apply legal principles. (Mot. at 18-19.) Again, that is not a valid criticism. As explained

 5   above, the Federal Rules of Evidence allow expert testimony to “help the trier to understand

 6   evidence or to determine a fact in issue”, Fed. R. Evid. 702(a), not to offer legal conclusions or

 7   instruct the jury on how to apply the law to the facts. See Mukhtar, 2002 U.S. App. LEXIS

 8   27934, at *30 n.10; Traumann, 858 F. Supp. at 985; see also Hangarter v. Provident Life & Acc.

 9   Ins. Co., 373 F.3d 998, 1017 (9th Cir. 2004) (expert “did not improperly usurp the court’s role by

10   instructing the jury as to the applicable law”). Dr. Kare’s opinions meet this standard.

11          With respect to “substantial similarity,” Dr. Kare offers careful analysis of the similarities

12   between the appearances of the graphical interfaces on Apple and Samsung devices and the

13   asserted design patents. Furthermore, while she does not purport to step into the shoes of an

14   ordinary observer, she has an understanding, based on “30 years of designing icons and user

15   interface elements,” of how consumers perceive user interface graphics. (Mazza Decl. Ex. E at

16   28:16-24.) Her expert opinion regarding the similarities between the asserted design patents and

17   the accused Samsung devices will be helpful to the jury’s infringement determination.13

18          With respect to “likelihood of confusion,” it is unclear what opinion Samsung is

19   challenging. There are no trademark infringement issues remaining in this case, and Dr. Kare

20   limits her analysis of trade dress issues. She opines about the similarities between the

21   appearances of the Samsung and Apple devices and explains that they could cause users to “see

22   the designs as coming from the same company or source, or representing the same brand.” (Dkt.

23   No. 927-25 ¶ 44.) That analysis is exactly on par with what Samsung says is appropriate with

24   respect to the “Sleekcraft” factors: “‘[S]imilarity in appearance’ is but one of eight factors that

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            13
               Samsung also misstates the law by suggesting that infringement only considers “the
26   novel features of Apple’s design patents.” (Mot. at 18.) The Federal Circuit rejected that “point
     of novelty” test in Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 678 (Fed. Cir. 2008).
27   Instead, infringement is determined according to the ordinary observer’s view of the differences
     between the patented design and the accused product “in the context of the prior art.” Id. at 676.
28
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 1   must be considered in evaluating likelihood of confusion in the . . . trade dress context.” (Mot.
 2   at 19.)
 3             Samsung’s second objection is that Dr. Kare’s opinion that the factual evidence suggests
 4   that Samsung based its designs on Apple’s designs is “not a proper subject of expert testimony.”14
 5   (Mot. at 19.) Samsung’s only support for that argument is the proposition that expert testimony
 6   cannot just be “recitations of facts of the case.” (Id.) Far from offering “recitations of facts,”
 7   however, Dr. Kare explains the process of designing interface graphics and provides a detailed
 8   description of the interface graphics of Apple and Samsung devices and their strikingly parallel
 9   designs. (Dkt. No. 927-25 ¶¶ 6-71].) Based on her expertise in interface graphics, she concludes
10   that “[t]he pattern of similarities supports the possibility that the iPhone Devices’ screen graphics
11   influenced and served as a guide for the design of the application screens of Samsung Phones.”15
12   (Id. ¶ 76.) Only a design expert can provide such in-depth analysis and relate it to the actual
13   process of designing interface graphics. Dr. Kare’s analysis of the evidence, including evidence
14   suggesting that                                                                    (id. ¶¶ 72-90), is
15   thus helpful to the jury in deciding whether Samsung copied Apple’s designs, which in turn is
16   relevant as a secondary consideration of non-obviousness.
17             E.     Russell Winer’s Opinions Are Admissible
18             Dr. Russell Winer, a Professor and the Chair of the Marketing Department at NYU, has
19   focused his research on consumer choice, marketing research methodology, marketing planning,
20   advertising, and pricing. (Dkt. No. 927-28 ¶¶ 1, 5.) Dr. Winer has opined on the value of brands
21   generally, the strength of Apple’s brand, the importance of design to the strength of Apple’s
22             14
               Samsung also points out that Dr. Kare “is not a psychologist” so she cannot offer
23   “speculative testimony about Samsung’s state of mind and what steps it actually took.” (Mot.
     at 19.) But Dr. Kare offers no such testimony. Rather, she properly relies on her expertise as a
24   designer to explain the evidence about Apple and Samsung designs. That is an appropriate
     function for an expert.
25             15
                Samsung suggests that Dr. Kare’s opinion is improper because she does not conclude
     that Samsung in fact copied Apple. Such an objection is improper, as her testimony will educate
26   the jury on the factual issues. See generally Fresenius Med. Care Holdings, Inc. v. Baxter Intern.,
     Inc., No. C 03-1431 SBA, 2006 WL 1329999, at *5 (N.D. Cal. May 15, 2006) (“[T]he practice of
27   allowing an expert to educate the jury without necessarily expressing an opinion on the specific
     facts of the case, or even reaching an opinion at all, is regularly upheld.”).
28
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 1   brand, and the harm to Apple’s brand resulting from Samsung’s misappropriation of Apple’s
 2   distinctive designs. Courts routinely admit such expert testimony.16
 3          Samsung argues that Dr. Winer is a “summary” witness because of his citation to surveys
 4   by two other experts, press articles, and Apple documents. This oversimplifies and
 5   mischaracterizes Dr. Winer’s report. In any event, “[a]n expert may base an opinion on facts or
 6   data in the case that the expert has been made aware of or personally observed.” Fed. R. Evid.
 7   703. An expert may rely on the “presentation of data to the expert outside of court and other than
 8   by his own perception,” including the “reports and opinions” of other expert witnesses. Id.
 9   (advisory committee’s Notes, 1972 Proposed Rules). Likewise, courts interpret Rule 703 to
10   permit an expert in one field to rely on the expertise of one in another field. See, e.g., Banta
11   Props. Inc. v. Arch Specialty Ins. Co., No. 10-61485-CIV-DIMINTROULEAS/SNOW, 2011 U.S.
12   Dist. LEXIS 152928 (S.D. Fla. Dec. 23, 2011) (“Experts routinely rely on the work of others, a
13   practice permitted by Fed. R. Evid. 703, so long as the facts or data on which they rely is of the
14   type reasonably relied on by experts in the relevant field.”); Astra Aktiebolag v. Andrx Pharms.,
15   Inc., 222 F. Supp. 2d 423, 490 (S.D.N.Y. 2002).
16          Rule 703 also contemplates that an expert may rely on facts or data “of a type reasonably
17   relied upon by experts in the particular field.” Fed. R. Evid. 703 (Advisory Committee’s Notes,
18   1972 Proposed Rules). Here, that includes press articles and internal Apple documents, such as
19   iPhone and iPad buyer surveys and advertising expenditures. See Edina Realty, Inc. v.
20   TheMLSonline.com, No. 04-4371 (JRT/FLN), 2006 U.S. Dist. LEXIS 13775 (D. Minn.
21   Mar. 20, 2006) (denying motion to exclude expert who did not perform survey but relied on
22   materials such as focus groups, marketing budgets, and empirical studies on Internet usage).
23          According to Samsung, Dr. Winer offers generic opinions about brands. Dr. Winer’s
24   opinions, however, will “help the trier of fact to understand evidence or to determine a fact in
25
            16
               See, e.g., Gap, Inc. v. G.A.P. Adventures, Inc., No. 07 Civ. 9614 (AKH), 2011 U.S.
26   Dist. LEXIS 71675, at *15-16 (S.D.N.Y. June 24, 2011) (allowing testimony from marketing
     expert on surveys addressing likelihood of dilution); Flowers Bakeries Brands, Inc. v. Interstate
27   Bakeries Corp., No. 1:08-CV-2376-TWT, 2010 U.S. Dist. LEXIS 82638, at *11-14 (N.D. Ga.
     Aug. 4, 2010) (allowing expert testimony regarding branding and marketing).
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 1   issue.”17 Fed. R. Evid. 702(a). Indeed, Dr. Winer provided some broad branding principles,
 2   which will likely be new to most jurors, but he also applied them to the facts, explaining for
 3   example that Samsung’s smartphones and tablets closely resemble Apple’s trade dresses, and thus
 4   dilute the distinctiveness of Apple’s trade dresses (Dkt. No. 927-28 ¶¶ 170-188) and harm
 5   Apple’s brand (id. at ¶¶ 189-96). See Flowers Bakeries Brands, 2010 U.S. Dist. LEXIS 82638, at
 6   *11-14 (permitting testimony applying general marketing principles to facts).
 7          Samsung also argues that Dr. Winer’s opinions are duplicative of Dr. Sood’s opinions.
 8   However, their reports diverge on a number of points. Dr. Winer’s opinions address Apple’s
 9   trade dress, Samsung’s infringement of Apple’s trade dress, and harm to Apple’s brand.
10   Dr. Sood’s report focuses on impact of design on consumer choice. Apple does not intend to
11   present duplicative testimony, and in any event such issues can be dealt with at trial—they are not
12   an appropriate basis to exclude under Daubert.
13          F.      Sanjay Sood’s Opinions Are Admissible
14          Dr. Sanjay Sood opines on the impact of product design on consumer purchasing
15   decisions, the impact of design on decisions to purchase iPhone and iPad products, and dilution of
16   the strength of Apple’s designs and brand as a result of Samsung’s infringement. (Dkt. No. 927-
17   29.) Dr. Sood is a professor at the Anderson Graduate School of Management at UCLA and he
18   has done research in the area of product design on consumer purchasing decisions. (Id. ¶ 2.)
19   Nonetheless, Samsung contends that Dr. Sood’s opinions are not tied to the patents, trade dress,
20   or accused products at issue. However, the report discusses both his research (id. ¶¶ 16-30) and
21   its applicability to the products in this case (id. ¶¶ 31-72). For example, he explains that even
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23          17
                Samsung argues that Dr. Winer lacks specialized expertise on the Sleekcraft factors.
     That it is the first time Dr. Winer has specifically addressed the Sleekcraft factors as an expert is
24   irrelevant. He understands trade dress and infringement issues. See Belk, Inc. v. Meyer Corp.,
     No. 10-1664, 2012 U.S. App. LEXIS 9319 (4th Cir. May 8, 2012) (holding district court did not
25   abuse its discretion in finding expert was qualified even though it was his first trade dress
     infringement case because he had some understanding of trade dress and infringement issues.).
26   Because he is not offering a legal opinion, Dr. Winer relies on his extensive expertise to apply
     marketing principles he has used in, for example, classroom exercises, to the facts in this action
27   when evaluating trade dress misappropriation and effects on consumer purchasing. (Mazza Decl.,
     Ex. F at 244:3-249:3; Dkt. No. 927-28 ¶ 99.)
28
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 1   though surveys confirm that design has contributed to the success of Apple’s products, his
 2   research shows consumers may understate the importance of design as a reason for purchasing
 3   Apple products. (Id. ¶¶ 63-64.) This is proper expert testimony.
 4          Samsung also complains that Dr. Sood’s research used “simple, inexpensive devices” and
 5   he only surveyed university students rather than potential buyers of the smartphones. Samsung
 6   relies on two inapposite trademark cases involving surveys that failed to focus on potential
 7   purchasers. (Mot. at 22.) Dr. Sood’s surveys addressed a different and broader question—the
 8   impact of design on consumer choice. Accordingly, Dr. Sood properly defined and selected a
 9   representative sample of the universe and products for his surveys. To the extent Samsung’s
10   argument has any merit, it goes to weight not admissibility, as this type of survey research is
11   commonplace in the marketing field. See Fortune Dynamic, Inc. v. Victoria’s Secret Stores
12   Brand Mgmt., 618 F.3d 1025, 1036-38 (9th Cir. 2010).
13          Finally, Samsung contends that Dr. Sood’s survey-related opinions should be excluded
14   because the underlying survey questionnaires were not produced, though the articles were
15   produced and Samsung extensively questioned Dr. Sood on his research.18 However, the
16   questionnaires were not responsive to any discovery requests and were cumulative of the articles
17   discussed in Dr. Sood’s report and produced to Samsung. (See Apple’s Opp. to Samsung’s Mot.
18   to Strike Expert Testimony, filed herewith.)
19          G.      Michael Walker’s Opinions Are Admissible
20          There is no basis to exclude Dr. Walker from testifying. His well-founded testimony will
21   offer precisely the sort of evidence that the Federal Circuit deemed crucial in Qualcomm Inc. v.
22

23          18
                Samsung cites two irrelevant cases in support of its argument. (Mot. at 22 n.26.)
     Neither case involves exclusion of evidence based on survey results merely because the
24   underlying survey questionnaires were not produced. See Rust Env’t & Infrastructure, Inc. v.
     Teunissen, 131 F.3d 1210, 1218 (7th Cir. 1997) (discounting survey because it suffered from a
25   host of issues including that it was not a random probability survey, was not a double blind
     survey, did not give adequate instructions to interviewers, did not require recording of verbatim
26   responses, did not incorporate random rotation of corporate names, and did not comport with
     accepted practice for independent validation of the results); Toys “R” Us, 559 F. Supp. at 1205
27   (E.D.N.Y. 1983) (excluding survey and expert opinion based on the survey for lack of indicia of
     trustworthiness).
28
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 1   Broadcom Corp., 548 F.3d 1004, 1016-17 (Fed. Cir. 2008), in which two patents were held
 2   unenforceable because they were not timely disclosed to the standard-setting organization.19
 3          First, Samsung argues that Dr. Walker’s analysis of the timeliness of Samsung’s ETSI
 4   disclosures is deficient because Dr. Walker reviewed the Declared Essential Patents but not
 5   Samsung’s related priority patent applications (“Priority Applications”). (Mot. at 22-23.) While
 6   Samsung seems to suggest that Dr. Walker himself needed to draw a technical connection
 7   between the four Declared Essential Patents and the Priority Applications, Samsung long ago
 8   made and relied on this very same connection (notably, Samsung does not deny the existence of
 9   this connection). For example, the Declared Essential Patents on their face claim priority to
10   precisely the same Priority Applications at issue. Samsung does not even argue that the Korean
11   applications and the Declared Essential Patents are separate and independent or contain different
12   disclosures, implicitly conceding the substantive overlap among them. Similarly, in opposing
13   Apple’s Motion for Summary Judgment, Samsung argued that “disclosure of one patent in a
14   patent family is sufficient notice of all current and future members of the entire patent family.”
15   (Dkt. No. 847-2.) This argument concedes that the Priority Applications are related to the
16   Declared Essential Patents. In short, Samsung itself has already established the connection
17   between the Declared Essential Patents and the Priority Applications; there is nothing more for
18   Dr. Walker to analyze.
19          Second, Samsung claims that Dr. Walker failed to consider whether the Priority
20   Applications were confidential under Korean law, and thus not subject to the ETSI disclosure
21   requirements. This argument misreads the relevant IPR policy, which provides that information
22   is deemed “confidential” only if the “information is first submitted to, and accepted by, the
23   chairman of the COMMITTEE as confidential.” (Mazza Decl. Ex. G at S-ITC-003356263.)
24   Samsung does not contend—much less show—that it submitted the Priority Applications to the
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26          19
               Dr. Walker will testify as to Samsung’s untimely disclosures of four of its asserted
27   patents: U.S. Patent Nos. 7,675,941; 6,928,604; 7,447,516; and 7,362,867 (together, “Declared
     Essential Patents”).
28
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 1   chairperson of any technical committee who then deemed them confidential.20
 2          Third, Samsung argues—without support—that it is Apple’s burden to show that
 3   Samsung’s senior management “must have been aware that [its Priority Applications] were likely
 4   to cover Essential IPRs” (Mot. at 23), a test that would permit an SSO participant to escape
 5   liability for knowingly failing to disclose its IPR through the willful blindness of senior
 6   management. That cannot be and is not the rule. Rather, Clause 4.1 of the IPR Policy imposes a
 7   requirement on each “member” to disclose IPRs which “might be essential” to any technical
 8   proposal—regardless of whether the proposing party’s management was ignorant of the proposal.
 9   (Mazza Decl. Ex. G at S-ITC-003356259.)
10          Moreover, even under Samsung’s (incorrect) legal standard, Samsung would be liable.
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16          H.      Richard L. Donaldson’s Opinions Are Admissible
17          Samsung contends that Donaldson improperly offers an opinion as to the legal
18   interpretation of the license between Samsung and Intel Corp. This is not the case. Donaldson’s
19   opinions are confined to his experience drafting and reviewing provisions such as those in the
20   Samsung/Intel license—inherently factual considerations—and reflect “what a licensing
21   professional would expect from similar terms, based on [Donaldson’s] experience in the licensing
22   field.” (Dkt. No. 927-34 ¶ 109.)22 As such, Donaldson’s opinions constitute proper and
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                Samsung’s view of “confidential information” would obviate almost any disclosure
     rule; for example, patent applications in the United States are considered confidential until
24   publication.
            21
25

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28                                                                           (Footnote continues on next page.)
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 1   admissible evidence. See, e.g., Metro Bus. Mgmt., Inc. v. Allstate Ins. Co., No. CV 05-8306 CAS
 2   (CWx), 2009 WL 4119270 (C.D. Cal. Nov. 23, 2009) (admitting testimony where “expert
 3   testified on factual, not legal issues, and limited his testimony to his expert opinion on the factual
 4   issues submitted to the jury’s decision”).23
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     Dated: May 31, 2012                            MORRISON & FOERSTER LLP
11

12
                                                    By:     /s/ Michael A. Jacobs
13                                                          Michael A. Jacobs
14                                                          Attorneys for Plaintiff
                                                            APPLE INC.
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     (Footnote continued from previous page.)
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              Apple contends that the terms of the Samsung/Intel license agreement are unambiguous;
26   however, if the Court determines that extrinsic evidence is necessary to resolve any latent
     ambiguity, Mr. Donaldson’s testimony as to the intent of similarly situated license partners would
27   be admissible extrinsic evidence to help resolve that ambiguity. See, e.g., Skilstaf, Inc. v. CVS
     Caremark Corp., 669 F.3d 1005, 1014-15 (9th Cir. 2012).
28
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